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                  In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: April 21, 2021

* * * * * * * *                     *   *    *   *    *
MARK A. JAKUBOWSKI,                                   *
                                                      *                 Unpublished
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                                                      *
                   Petitioner,                        *                 No. 19-291V
                                                      *
v.                                                    *                 Special Master Gowen
                                                      *
SECRETARY OF HEALTH                                   *                 Stipulation for Award;
AND HUMAN SERVICES,                                   *                 Pneumococcal conjugate;
                                                      *                 Vasovagal syncope.
                   Respondent.                        *
*    *   *    *    * * * *          *   *    *   *    *
William B. Hicky, William B. Hicky, Attorney at Law, Nashville, TN, for petitioner.
Ryan D. Pyles, U.S. Dept. of Justice, Washington, D.C., for respondent.

                                     DECISION ON STIPULATION1

        On February 25, 2019, Mark A. Jakubowski (“petitioner”) filed a petition for
compensation in the National Vaccine Injury Compensation Program.2 Petition (ECF No. 1).
Petitioner received a pneumococcal conjugate vaccine on March 16, 2017. Petition at ¶ 1.
Petitioner alleges that the pneumococcal vaccine caused him vasovagal syncope within the Table
timeframe that directly resulted in a motor vehicle accident and that he experienced residual
effects of this injury for more than six months. Stipulation at ¶ 4 (ECF No. 25).

       On April 21, 2021, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation. Respondent denies that petitioner
sustained a Table vasovagal syncope within the timeframe set forth in the Table; and denies that

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The Court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion
is posted on the Court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the Court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will
be posted on the Court’s website without any changes. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended 42 U.S.C. §§ 300aa-10 to 34 (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of
the Act.
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the pneumococcal immunization caused vasovagal syncope and/or any other injury. Id. at ¶ 6.
While maintaining their respective positions, the parties nevertheless now agree that a decision
should be entered awarding the compensation described in paragraph 8 of the stipulation, which
is attached hereto as Appendix A. Id. at ¶ 7.

        The stipulation awards a lump sum of $100,000.00 in the form of a check payable to
        petitioner. This amount represents compensation for all damages that would be
        available under 42 U.S.C. § 300aa-15(a) for all injuries allegedly related to petitioner’s
        receipt of the pneumococcal vaccine.

       I adopt the stipulation as the decision of the Court and hereby award compensation in the
amount and on the terms set forth therein. Accordingly, the Clerk of Court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).


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